         Case 1:20-cr-00330-AJN Document 660 Filed 05/11/22 Page 1 of 2




`                                               U.S. Department of Justice

                                                United States Attorney
                                                Southern District of New York

                                                     November 17, 2021
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
BY EMAIL                                            New York, New York 10007


                                                 May 11, 2022


By ECF

The Honorable Alison J. Nathan, Sitting by Designation
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The Government respectfully moves for the exclusion of time for Counts Seven and Eight

under the Speedy Trial Act, 18 U.S.C. § 3161(c)(1), until June 28, 2022—the scheduled date of

sentencing. Although the Government currently intends to move to dismiss these counts at

sentencing, as it has previously stated (see Dkt. No. 574), the Government seeks this exclusion of

time in an abundance of caution, so the Act does not preclude prosecution in the unlikely event an

intervening development occurs between now and sentencing which causes the Government to

reconsider that position. Such an exclusion promotes the ends of justice by obviating any need for

the parties and the Court to prepare for a second trial which, barring unforeseen developments,

will not occur. See 18 U.S.C. § 3161(h)(7)(A). Defense counsel consents to this exclusion.



                                                1
        Case 1:20-cr-00330-AJN Document 660 Filed 05/11/22 Page 2 of 2




                                          Respectfully submitted,

                                          DAMIAN WILLIAMS
                                          United States Attorney


                                    By:       s/
                                          Maurene Comey
                                          Alison Moe
                                          Lara Pomerantz
                                          Andrew Rohrbach
                                          Assistant United States Attorneys
                                          Southern District of New York

Cc: Defense Counsel (by ECF)




                                      2
